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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION

UNITED STATES OF AMERICA

v.                                                       No. 5:21-CR-044-H-BQ

LARRY LEE HARRIS

              MOTION FOR PRETRIAL DETENTION AND CONTINUANCE

         The United States asks for the pretrial detention of Defendant under Title 18,

United States Code, Sections 3142(e) and 3142(f).

         1.     Eligibility of Case. This case is eligible for a detention order under
                18 U.S.C. § 3142(f) because it is a case that involves:

                   X    A crime of violence as defined in 18 U.S.C. § 3156(a)(4), violation
                        of section 1591, or federal crime of terrorism for which the
                        maximum sentence is 10 years or more. (18 U.S.C. § 3142(f)(1)(A)).
                        An offense for which the maximum sentence is life imprisonment or
                        death. (18 U.S.C. § 3142(f)(1)(B)).
                        A Controlled Substances Act offense for which the maximum
                        sentence is 10 years or more. (18 U.S.C. § 3142(f)(1)(C)).
                        A felony that was committed after the defendant had been convicted
                        of two or more prior federal offenses described in 18 U.S.C.
                        § 3142(f)(1)(A)-(C), or comparable state or local offenses. (18
                        U.S.C. § 3142(f)(1)(D)).
                        A felony that involves a minor victim or failure to register as a sex
                        offender. (18 U.S.C § 3142(f)(1)(E)).
                   X    A felony that involves the possession or use of a firearm, destructive
                        device, or any other dangerous weapon. (18 U.S.C § 3142(f)(1)(E)).
                        A serious risk defendant will flee. (18 U.S.C. § 3142(f)(2)(A)).
                        A serious risk defendant will obstruct or attempt to obstruct justice,
                        or threaten, injure, or intimidate, or attempt to threaten, injure, or
                        intimidate a prospective witness or juror. (18 U.S.C. § 3142
                        (f)(2)(B)).



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        2.      Reason for Detention. The Court should detain defendant, under 18 U.S.C.
                § 3142(e), because no condition or combination of conditions will
                reasonably assure:

                   X     Defendant’s appearance as required.
                   X     Safety of any other person and the community.

        3.      Rebuttable Presumption. The United States will invoke the rebuttable
                presumption against defendant under 18 U.S.C. § 3142(e). The
                presumption applies because there is:

                      A Controlled Substances Act offense for which the maximum
                      sentence is 10 years or more. (18 U.S.C. § 3142(e)(3)(A)).
                      An offense under Title 18, United States Code, Sections 924(c),
                      956(a), or 2332b. (18 U.S.C. § 3142(e)(3)(B)).
                      A federal crime of terrorism for which the maximum sentence is 10
                      years or more. (18 U.S.C. § 3142(e)(3)(C)).
                _____ An offense in Chapter 77 of Title 18 (human trafficking) for which
                      the maximum sentence is 20 years or more. (18 U.S.C.
                      § 3142(e)(3)(D))
                      Previous conviction for “eligible” offense committed while on
                      pretrial bond. (18 U.S.C. § 3142(e)(2)).
                      A qualifying offense involving a minor victim. (18 U.S.C.
                      § 3142(e)(3)(E)).

        4.      Time for Detention Hearing. The United States requests the Court conduct
                the detention hearing:

                     At first appearance.
                     After continuance of three days.
                     After continuance of ten days.
                __X_ Moot at this time as he is in custody on state charges.




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        5.      Eligibility for 10-Day Temporary Detention: The court may temporarily
                detain the defendant to permit revocation of conditional release,
                deportation, or exclusion because:

        A.      i)       The defendant is, and was at the time the offense was committed:

                          on release pending trial for a felony under federal, state, or local
                          law (18 U.S.C. § 3142(d)(1)(A)(i));
                          on release pending imposition or execution of sentence, appeal of
                          sentence or conviction, or completion of sentence, for any offense
                          under federal, state, or local law (18 U.S.C. § 3142(d)(1)(A)(ii));
                          on probation or parole for any offense under federal, state, or local
                          law (18 U.S.C. § 3142(d)(1)(A)(iii)); or

                ii)       The defendant is not a citizen of the United States or lawfully
                          admitted for permanent residence as defined at 8 U.S.C.
                          § 1101(a)(20) (18 U.S.C. § 3142(d)(1)(B));

        B.      And the defendant:

                        may flee; or
                        pose a danger to any other person or the community.

                                                Respectfully submitted,

                                                PRERAK SHAH
                                                ACTING UNITED STATES ATTORNEY


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